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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                             NO. 4:06CR00105-(01) JMM

JOHN PASCAL SOWARD a/k/a WHITNEY

                               FINAL ORDER OF FORFEITURE

       WHEREAS, on December 20, 2007 this Court entered an Amended Preliminary Order of

Forfeiture, ordering the defendant to forfeit his interest in the following:

       CONVEYANCE

       a.      One black V-king motorcycle, VIN 189W1S2G1W5503005.

       FIREARMS or AMMUNITION

       FIREARM                                                 SERIAL NUMBER

       Dan Wesson, .357 mag. handgun                           189304

       Desert Eagle, .40 cal. handgun                          32311148

       Browning BDM, 9mm handgun                               945NT51231

       Bersa Model 83, .380 cal. handgun                       238656

       Star .380 handgun                                       1882203

       Smith & Wesson .40 cal. handgun                         PAM1195

       Parker 10mm handgun                                     A06540

       Seecamp .25 acp handgun                                 3478

       Springfield Armory .45 acp handgun                      N361696

       Ruger 22/45 .22 cal. handgun                            224-38475

       AA Arms model AP 9mm                                    17704
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Star model 30 MI 9mm handgun                     1835323

Beretta Tomcat .32 acp handgun                   DAA208923

Beretta model 950 .22 cal. handgun               BER25648T

Ruger P90, .45 acp handgun                       662-17922

Colt .25 acp handgun                             100288

Davis Arms M32 handgun                           557536

AMT .380 handgun                                 DA 11981

Beretta model 70, 7.65 cal. handgun              A00037

Ruger P85, 9mm handgun                           302-12363

Beretta model 950BS, .25 acp handgun             BT12153V

Beretta model 950BS, .22 cal. handgun            BER40355T

Beretta model 948, .22 cal handgun               043710N

Ruger SP101, .357 mag. handgun                   572-34159

North American Arms .22 mag. handgun             D5435

Smith & Wesson model 422, .22 cal. handgun       TFP3095

Glock model 19, 9mm handgun                      BHT011

Beretta model 92, 9mm handgun                    E25393Z

Smith & Wesson, model 66., .357 mag. handgun     BHY2613

H&R .410 gauge shotgun pistol                    45054

AMT Automag 2, .22 mag. handgun                  H26862

Desert Eagle, .50 AE cal. handgun                34200970

Remington 12 gauge semi-automatic shotgun        138957

Browing Magnum 12, 12 gauge shotgun              18731NW151
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New Haven (Mossberg) 12 gauge shotgun 600AT       G952632

Leinad .45 cal. Derringer (Cobray)                M00003004

Colt Python .357 magnum revolver                  V76547

Highpoint #995 9mm rifle                          A35822

Beretta Storm .40 cal. rifle                      CY05141

Desert Eagle .50AE pistol                         34200939

218 rounds of assorted .50 caliber ammunition     N/A

846 rounds of .22 caliber ammunition              N/A

100 rounds of 7 caliber ammunition                N/A

100 rounds of 30-06 ammunition                    N/A

150 rounds of .380 caliber ammunition             N/A

20 rounds of .3 caliber ammunition                N/A

20 rounds of .270 caliber ammunition              N/A

10 rounds of .20 caliber ammunition               N/A

50 rounds of 9mm ammunition                       N/A

10 rounds of 12 gauge ammunition                  N/A

33 rounds of 10 gauge ammunition                  N/A

147 rounds of .32 caliber ammunition              N/A

29 rounds of .4 caliber ammunition                N/A

76 rounds of .357 caliber ammunition              N/A

Cobray M11, 9mm                                   XX-XXXXXXX

Savage 110, .270 Win                              F179907

Browing A Bolt, .300 Win Mag                      56691NT817
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Savage 65M, .22 Win Mag                        C670865

Remington 1100, 12 gauge                       356402V

Marlin 60W, .22 long rifle                     9329389

Remington 11/87, 12 gauge                      PC345893

Mossburg 500A, 12 gauge                        P978957

Mossburg 500A, 12 gauge                        P345782

Bohica M-16-SA, Nato (223)                     460044

Weatherby Mark V, 30-378 Wby Mag               BW007971

Eagle Arms (Armalite) M15A2, 5.56 mm(223)      9320

Browning A Bolt, 300 WSM                       71620MX351

Bushmaster XM15-E2S, 5.56 (223)                BFI428607

Ruger 10-22, .22 long rifle                    25446602

Norinco SKS, 7.62X39                           R8392

Marlin 25MN, .22 long rifle                    12711380

Browning BAR, 300 Win Mag                      23326M74

Remington Nylon 55, .22 long rifle             No serial number

Interarms/Norinko 22A.T.D., .22 long rifle     421443

Savage 110, .270 Win                           F631880

Remington 700, 7mm Mag                         6562413

Sten “MK2" 9 mm submachine gun                 F43980

Coastal, M223 Silencer                         1041

Homemade Unregistered Silencer                 No serial number

Sable Baby, .22 cal.                           1136
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        Magnum Research ISI Desert Eagle, .50 cal.              43201085

        Winchester Model 1200, 12 gauge                         L1167874

        Mossberg Model 500, 12 gauge                            K269811

        F.I.E., 410 gauge                                       186847

        Eastfield Model 916, 12 gauge                           B05369

        Remington Model 11, 20 gauge                            1067200

        Ruger Model 1022, .22 cal.                              255-05452

        Remington Nylon, .22 cal.                               None

        Remington Model 552, .22 cal.                           1723387


        WHEREAS, the United States caused to be published in the Arkansas Democrat Gazette,

a newspaper of general circulation, notice of this forfeiture and of the intent of the United States

to dispose of the property in accordance with the law and as specified in the Preliminary Order,

and further notifying all third parties of their right to petition the Court within thirty (30) days for

a hearing to adjudicate the validity of their alleged legal interest in the property;

        WHEREAS, the United States also provided actual notice to all interested parties,

including to the defendants;

        WHEREAS, no claims were filed by any persons with respect to any of the property

described herein;

        IT IS ORDERED that all right, title, and interest in all of the property set forth above is

hereby forfeited to the United States, and the United States Marshal shall dispose of such

property according to law.

        SO ORDERED this 20th day of February, 2008.

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                             __________________________________
                             UNITED STATES DISTRICT JUDGE




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